          Case
AO 106 (Rev. 04/10) 2:24-mj-01055-DAO
                    Application for a Search Warrant    Document 1         Filed 10/30/24      PageID.1            Page 1 of 1


                                       UNITED STATES DISTRICT COURT
                                                                     for the
                                                               District
                                                       __________       of Utah
                                                                  District  of __________

              In the Matter of the Search of                           )
         (Briefly describe the property to be searched                 )
          or identify the person by name and address)                  )          Case No. 2:24mj1055-DAO
 INFORMATION ASSOCIATED WITH INSTAGRAM                                 )
  ACCOUNT @KOLETURE THAT IS STORED AT                                  )
 PREMISES CONTROLLED BY META PLATFORMS                                 )

                                             APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
 See Attachment A


located in the               Central              District of              Utah               , there is now concealed (identify the
person or describe the property to be seized):
 See Attachment B


          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               ✔ evidence of a crime;
               ’
               ✔ contraband, fruits of crime, or other items illegally possessed;
               ’
                 ✔ property designed for use, intended for use, or used in committing a crime;
                 ’
                 ’ a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                         Offense Description
       18 U.S.C. 1343, 18 U.S.C.                   Wire Fraud, Conspiracy to Commit Wire Fraud, Money Laundering, and Securities
       1349, 18 U.S.C. 1956(a)(1)(B)               Fraud
       and 1957, 18 U.S.C. 78(j)(b)
          The application is based on these facts:
        See Attached Affidavit


           ✔ Continued on the attached sheet.
           ’
           ’ Delayed notice of        days (give exact ending date if more than 30 days:                               ) is requested
             under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                             Applicant’s signature

                                                                                    JONATHAN RICH, Special Agent FBI
                                                                                             Printed name and title

Sworn to before me and signed in my presence.

Date: October 30, 2024
                                                                                               Judge’s signature

City and state: Salt Lake City, Utah                                                   , United States Magistrate Judge
                                                                                             Printed name and title
         Print                        Save As...                    Attach                                                 Reset
